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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )           8:02CR49
                    Plaintiff,                  )
                                                )
      vs.                                       )             ORDER
                                                )
LOUIS A. CRITCHLOW,                             )
                                                )
                    Defendant.                  )




      This matter is before the court on the oral motion of Michael T. Levy to withdraw as
counsel for the defendant, Louis A. Critchlow (Critchlow). Mr. Levy’s motion to withdraw
is granted. Jessica Milburn, P.O. Box 6668, Lincoln, NE 68506, (402) 488-7894, is
appointed to represent Critchlow for the balance of these proceedings pursuant to the
Criminal Justice Act. Mr. Levy shall forthwith provide Ms. Milburn with the discovery
materials provided the defendant by the government and such other materials obtained by
Mr. Levy which are material to Critchlow’s defense.
      The clerk shall provide a copy of this order to Ms. Milburn and the Office of the
Federal Public Defender. Ms. Milburn shall enter her appearance forthwith.


      IT IS SO ORDERED.
      DATED this 6th day of June, 2008.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
